    Case 3:12-cr-03787-BEN   Document 44   Filed 10/11/13   PageID.105               Page 1 of 1


                        UNITED STATES DISTRICT COURT                 ..
                      SOUTHERN DISTRICT OF CALIFORNIA,.              "
                                                                     "

                                                                                            .r.n 8: I 0
                                                                     '10   -<1"'1:   hn
                                                                      . 1J UL. TLI

UNITED STATES OF AMERICA,                  CASE NO. l3.CR3787~BBN·"

                       Plaintiff,                                  .Or                             DEPUTV
                vs.                        JUDGMENT OF DISMISSAL
CARMEN AVINA,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been   led in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

    the Court has granted the motion of the Government for dismissal, with
    prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

    of the offense(s) as charged in the Information:

    8:l324(a) (1) (A) (ii) and (v) (II)



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 10/10/13
                                           Janr4f!·~
                                           U.S. Magistrate Judge
